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                  Exhibit Y
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    AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                               for the
                                                           __________ District
                                                            Southern District ofof __________
                                                                                 New  York

                                                                                  )
      In re Application of Vale S.A., Vale Holdings B.V., and                     )
      Vale International S.A. for an Order Pursuant to 28                         )        Civil Action No.
      U.S.C. § 1782 to Conduct Discovery for Use in Foreign                       )
      Proceedings
                                                                                  )
                                                                                  )

                            SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                              OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

     To:                                           HFZ 90 Lexington Avenue Owner LLC
                                                   c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor 15, New York, NY 10022
                                                           (Name of person to whom this subpoena is directed)

        ✔
        u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
    material:



      Place: Cleary Gottlieb Steen & Hamilton LLP                                           Date and Time:
               One Liberty Plaza                                                                                 06/08/2020 5:00 pm
               New York, NY 10006

         u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
    other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
    may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

      Place:                                                                               Date and Time:



           The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
    Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
    respond to this subpoena and the potential consequences of not doing so.

    Date:

                                      CLERK OF COURT
                                                                                                OR

                                               Signature of Clerk or Deputy Clerk                                         Attorney’s signature


    The name, address, e-mail address, and telephone number of the attorney representing (name of party)
    Vale S.A., Vale Holdings B.V., and Vale International S.A.              , who issues or requests this subpoena, are:
Jeffrey A. Rosenthal (jrosenthal@cgsh.com), Lisa M. Schweitzer (lschweitzer@cgsh.com), and Lisa Vicens (evicens@cgsh.com)

One Liberty Plaza, New York, NY 10006, (212) 225 2086

                                     Notice to the person who issues or requests this subpoena
     A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
     it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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    SCHEDULE TO SUBPOENA TO HFZ 90 LEXINGTON AVENUE OWNER LLC



               Pursuant to Federal Rules of Civil Procedure 34 and 45, Vale S.A., Vale Holdings

B.V., and Vale International S.A. (collectively, “Vale” or the “Applicant”) hereby request that

HFZ 90 Lexington Avenue Owner LLC produce the following documents responsive to this

subpoena. All objections, responses, and responsive documents, communications, or

electronically stored information shall be served and produced on or before June 8, 2020 or such

other date to which Vale agrees or as ordered by the Court, at the offices of Cleary Gottlieb

Steen & Hamilton LLP, One Liberty Plaza, New York, New York 10006 (Attn. Jeffrey A.

Rosenthal) or electronically to jrosenthal@cgsh.com. Vale reserves the right to serve

supplemental and additional discovery requests.


                                          DEFINITIONS


               1.       The Applicant incorporates by reference herein the Uniform Definitions

in Discovery Requests set out in Rule 26.3 of the Local Rules of the United States District Courts

for the Southern and Eastern Districts of New York (the “Local Civil Rules”).

               2.       The term “all” shall mean “all,” “every,” and “each” as necessary to make

the request inclusive rather than exclusive.

               3.       The term “any and all” means every document, whenever created, within

Your possession, custody, or control.

               4.       The term “affiliate” means a person or corporate entity that is related to

another person or corporate entity, directly or indirectly, by shareholdings, interests, or other

means of control, including but not limited to subsidiaries, parents, or sibling corporate entities.
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               5.       The terms “associate,” “associated,” or “association” mean a person or

corporate entity that has an existing or past relationship with another person or corporate entity,

including but not limited to direct and indirect relationships as owners, employees, officers,

agents, colleagues, partners, members, directors, family, corporate family, principals,

stakeholders, representatives, shareholders, advisors, beneficiaries, lienholders, creditors,

debtors, customers, and suppliers.

               6.      The terms “Balda Foundation” or “Balda” mean the direct parent

company of Nysco Management Corp. and indirect parent of BSGR and any of its current or

former parents, divisions, subsidiaries, affiliates, predecessors, successors, agents, officers,

directors, general and/or limited partners, associates, managers, representatives, attorneys,

employees, assigns, and all other persons acting or purporting to act for or on its behalf, whether

or not authorized to do so, including but not limited to Marc Bonnant, Brian Padgett, Peter Goop,

Rothschild Trust (Guernsey) Limited, and any other members of its Foundation Council.

               7.      The term “between” means between or among two or more persons or

entities.

               8.      The term “BSGR” means BSG Resources Limited and any of its current

or former divisions, subsidiaries, affiliates, predecessors, successors, agents, officers, directors,

general and/or limited partners, associates, managers, representatives, attorneys, employees,

assigns, and all other persons acting or purporting to act for or on its behalf, whether or not

authorized to do so, including but not limited to those entities identified in Exhibit B of the

Verified Chapter 15 Petition, attached hereto as Appendix B.

               9.      The term “BSGCM” means BSG Capital Markets and any of its current or

former parents, divisions, subsidiaries, affiliates, predecessors, successors, agents, officers,




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directors, general and/or limited partners, associates, managers, representatives, attorneys,

employees, assigns, and all other persons acting or purporting to act for or on its behalf, whether

or not authorized to do so, including but not limited to Dag Cramer, David Clark, Sandra

Merloni-Horemans, Kevin McAuliffe, David Granot, Peter Driver, Gustaf Bodin, Samuel Edoh,

V.S. Holdings Limited, Kensdale Global Assets Limited, Da Vinci Capital Management Group,

Da Vinci CIS Private Sector Growth Fund Limited, Gabriel Resources, Lenbro Holding Inc.,

FBN Bank DRC SA, Lauder International Corp., Huxton Capital Inc., and Freja Capital Limited.

               10.      The term “BSG Entities” means BSG RE, BSGR, BSGCM, Balda,

Nysco, Vessna, Invel, Steinmetz, Steinmetz’s Associates, and Steinmetz’s Relatives and any

other entity in which Steinmetz is known, believed, or suspected to have any interest.

               11.     The term “BSG RE” means BSG Real Estate Limited and any of its

current or former parents, divisions, subsidiaries, affiliates, predecessors, successors, agents,

officers, directors, general and/or limited partners, associates, managers, representatives,

attorneys, employees, assigns, and all other persons acting or purporting to act for or on its

behalf, whether or not authorized to do so, including but not limited to Brunel Group Inc,

Youngville Enterprises Ltd, Five Mounts Real Estate Investments Sarl, Five Mounts Properties

Europe BV, Dawley Real Estate Inc, FMP Global Corp, BSG Real Estate (Netherlands)

Coöperatief U.A., BSG RE German Real Estate B.V., BSG RE German Retail B.V., Kaufhaus

Immobilien Holding B Sarl Lux, FMP (Setai) Ltd (GY), AFZ 40 Broad Street LP, HFZ 40 Broad

Street Holdings LLC, HFZ 40 Broad Mezz LLC, HFZ 40 Broad Street LLC, BSG Real Estate

Investments Coöperatief U.A., FMP Limited, FMP Italy Sarl, Lastra Holdings BV, FMP Italy

(Tolmezzo) Srl, Chestergate Investments Corp., Highstreet Real Estate (Netherlands) BV, Five

Mounts Properties Ltd, Halley Research Corp, Seavest Holdings Inc, Wiltonia Investments Ltd,




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Oldpoint International Corp., Riverview Enterprises Inc, Newfield Development Corp, EPBS

Ltd, Oakhill Holdings Corp, Tarpley Property Holdings Inc, Tarpley Belnord Corp, Tarpley

Comet Corp, Tarpley Newrock Corp., Perfectus Real Estate Corp., Tarpley 500 NMA Corp., and

Perfectus 500 NMA Corp.

               12.      The term “concerning” means relating to, referring to, describing,

evidencing, or constituting.

               13.      The term “document(s)” is used in its broadest sense and includes,

without limitation, any and all writings in any form, notes, memoranda, manuals, reports,

agreements, contracts, communications (including information transmitted in the form of facts,

ideas, inquiries, or otherwise), contracts, deeds, memoranda of understanding, invoices, receipts,

records, correspondence, drawings, graphs, charts (including personnel charts, structure charts,

or organograms), corporate registries, corporate records, photographs, telephone records,

payment records, bank statements, data compilations of whatever nature (including those from

which information can be obtained or translated if necessary), tape recordings, electronic mail

messages, and electronic data (including any exchange of information between computers and all

information stored in an electronic form or computer database). A draft or non-identical copy is

a separate document within the meaning of this term.

               14.     The term “HFZ” means HFZ Capital Group LLC and any of its current or

former parents, divisions, subsidiaries, affiliates, predecessors, successors, agents, officers,

directors, general and/or limited partners, associates, managers, representatives, attorneys,

employees, assigns, and all other persons acting or purporting to act for or on its behalf, whether

or not authorized to do so, including but not limited to Ziel Feldman, Helene Feldman, Feldman

Family 2007 Trust, Nir Meir, John Shannon, John Simonlacaj, Matthew Chook, Adam Feldman,




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Amir Chizic, Christophe Lagrange, Anthony Marrone, Sam Koeppel, 76 Eleventh Avenue

Property Owner LLC, Chatsworth Realty Corp., Chatsworth Realty 340 LLC, HFZ 344 West

72st Street Owner LLC, 215 Chrystie LLC, HFZ 235 West 75th Street Owner LLC, HFZ 301

West 53rd Street Owner LLC, HFZ 90 Lexington Avenue Owner LLC, HFZ 88 Lexington

Avenue Owner LLC, HFZ Highline LLC, HFZ Highline Property Owner LLC, HFZ Highline

Retail Owner LLC, HFZ 501 West LLC, HFZ Bryant Park Owner LLC, 20 West 40 Bryant Park

Owner LLC, HFZ KIK 30th Street Mezzanine LLC, HFZ KIK 30th Street LLC, HFZ West 30th

Street Partners LLC, HFZ KIK 30th Street Owner LLC, AFZ 40 Broad Street LP, HFZ 40 Broad

Street Holdings LLC, and HFZ 40 Broad Street LLC.

                15.     The term “interest,” unless otherwise specified, means any past, present,

prospective, or contingent interest (whether held directly or indirectly through subsidiaries,

holding structures, and other entities and/or persons), including, without limitation, economic

interests, financial interests, ownership interests, material interests, beneficial interests, licenses,

and concessions. For the avoidance of doubt, a partially or jointly-held financial, beneficial, or

material interest is an interest within the meaning of this term.

                16.     The term “Invel” means Invel Real Estate Partners, and any of its current

or former parents, divisions, subsidiaries, affiliates, predecessors, successors, agents, officers,

directors, general and/or limited partners, associates, managers, representatives, attorneys,

employees, assigns, and all other persons acting or purporting to act for or on its behalf, whether

or not authorized to do so, including Chris Papachristophorou and Luv Shah.

                17.     The terms “Nysco Management Corp.” or “Nysco” mean the direct

parent of BSGR, and any of its current or former parents, divisions, subsidiaries, affiliates,

predecessors, successors, agents, officers, directors, general and/or limited partners, associates,




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managers, representatives, attorneys, employees, assigns, and all other persons acting or

purporting to act for or on its behalf, whether or not authorized to do so.

               18.     The term “Onyx Financial Advisors” means Onyx Financial Advisors

Limited and Onyx Financial Advisors S.A., and any of their current or former parents, divisions,

subsidiaries, affiliates, predecessors, successors, agents, officers, directors, general and/or limited

partners, associates, managers, representatives, attorneys, employees, assigns, and all other

persons acting or purporting to act for or on their behalf, whether or not authorized to do so,

including but not limited to Dag Cramer and Sandra Merloni-Horemans.

               19.      The term “Steinmetz” means Benjamin “Beny” Steinmetz.

               20.      The term “Steinmetz’s Associates” means any of Benjamin “Beny”

Steinmetz’s current or former agents, general and/or limited partners, associates, representatives,

attorneys, employees, assigns, nominees, and all other persons acting or purporting to act for or

on his behalf, or on behalf of any BSG Entity, whether or not authorized to do so, including but

not limited to Balda, Nysco, BSGR, BSG RE, Asher Avidan, Baruch Baigel, Malcolm Barnes,

David Barnett, Gregg Blackstock, Gustaf Bodin, Marc Bonnant, Johannes van den Braber,

Marcos Camhis, Frédéric Cilins, David Clark, Jesus Cortes, Dag Cramer, Ashvin Dagnarain,

Konstantinos Dasklakis, Sir Michael “Mick” Davis, Peter Driver, Samuel Edoh, Yakir Gabay,

Peter Goop, Itzik Gur, Kenneth Henderson, Jozef Hendricks, Avraham Lev Ran, Doron Levy,

Martin Maloney, Johannes Meijer, Sandra Merloni-Horemans, Kevin Metcalf, Nissim Mionis,

Sabby Mionis, Ioannis Moutafis, Michael Noy, Brian Padgett, Chris Papachristophorou, Dimitris

Paschos, Apostolos Peppas, Daniel Pollak, Ioannis Prokopis, Maxwell Quinn, Eli Sabag, Luv

Shah, Varda Shine, Marc Struik, Daniel Strykowski, and Yossie Tchelet.




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               21.     The term “Steinmetz’s Relatives” means any spouse, former spouse,

child, stepchild, parent, stepparent, grandparent, grandchild, niece, nephew, cousin, aunt, uncle,

mother-in-law, father-in-law, son-in-law, daughter-in-law, brother, sister, brother-in-law, or

sister-in-law, including adoptive relations, of Benjamin “Beny” Steinmetz. For the avoidance of

doubt, for the purposes of this definition, Steinmetz’s Relatives include, without limitation,

Steinmetz’s wife Agnes Steinmetz; Steinmetz’s brother Daniel Steinmetz; Steinmetz’s brother-

in-law Patrick Saada; Steinmetz’s children Merav Steinmetz, Avner Steinmetz, Michal

Steinmetz, and Nadav Steinmetz; Steinmetz’s nephew, Raz Steinmetz; and Steinmetz’s sons-in-

law Shimon Menahem, and Ohad Schwartz.

               22.     The term “Subject Properties” means:

                       a. The Belnord, 225 West 86th Street, New York, NY;


                       b. 500 North Michigan Avenue, Chicago, IL;


                       c. The XI, 76 Eleventh Avenue, New York, NY;


                       d. The Chatsworth, 344 West 72nd Street, New York, NY;


                       e. The Setai, 40 Broad Street, New York, NY;


                       f. The Public, 215 Chrystie Street, New York, NY;


                       g. The Astor, 235 West 75th Street, New York, NY;


                       h. The Metro, 301 West 53rd Street, New York, NY;


                       i. LexLofts, 90 Lexington Ave, New York, NY;


                       j. The Adjacent, 88 Lexington Ave, New York, NY;


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                       k. The “Church Project,” 3 West 29th Street, New York, NY;


                       l. The Bryant, 16 West 40th Street, New York, NY; and


                       m. The Highline Development, 505 West 19th Street, New York, NY.


               23.     The terms “Vessna Foundation” or “Vessna” mean the direct parent

company of BSGCM and any of its current or former parents, divisions, subsidiaries, affiliates,

predecessors, successors, agents, officers, directors, general and/or limited partners, associates,

managers, representatives, attorneys, employees, assigns, and all other persons acting or

purporting to act for or on its behalf, whether or not authorized to do so.

               24.      The terms “You” or “Your” refer to HFZ 90 Lexington Avenue Owner

LLC and any of its current or former parents, divisions, subsidiaries, affiliates, predecessors,

successors, agents, officers, directors, general and/or limited partners, associates, managers,

representatives, attorneys, employees, assigns, and all other persons acting or purporting to act

for or on its behalf, whether or not authorized to do so, including but not limited to HFZ.



                                        INSTRUCTIONS

               1.      In addition to following the rules of construction in Rule 26.3 of the Local

Civil Rules, whenever necessary to bring within the scope of this subpoena Documents that

might otherwise be construed to be outside its scope: (a) the use of a verb in any tense shall be

construed as the use of that verb in all other tenses, (b) the use of the feminine, masculine or

neuter genders shall include all genders, and (c) the use of the singular form of any word

includes the plural and vice versa.




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               2.      Any non-capitalized words, terms, and phrases not specifically defined in

these document requests shall be given their normal and customary meaning in the context in

which they are used in these requests.

               3.      Each request for production shall be responded to completely, separately,

and fully.

               4.      Documents referred to herein are to include all portions or pages of each

document referred to, and all attachments, enclosures, appendices, and supporting

documentation, including, without limitation, originals, copies, non-identical copies (that may

contain handwritten notes, markings, stamps, interlineations, or electronic information), drafts,

working papers, routing slips, and similar materials.

               5.      A document is deemed in Your actual or constructive possession, custody,

or control if it is in Your physical custody, or if it is in the physical custody of any other person

and You (a) own such document in whole or in part; (b) have a right, by control, contract, statute,

order, or otherwise, to use, inspect, examine, or copy such document on any terms; (c) have an

understanding, express or implied, that You may use, inspect, examine, or copy such document

upon any terms; or (d) have, as a practical matter, been able to use, inspect, examine, or copy

such document when You sought to do so. For the avoidance of doubt, a document is deemed in

Your actual or constructive possession, custody, or control if it is accessible on a network or

server that You maintain or to which you have access.

               6.      The specifications of these document requests are to be construed as being

inclusive rather than exclusive. Thus, words importing the singular include the plural; words

importing the plural include the singular; words importing one gender includes both genders; the

words “and” and “or” are to be construed conjunctively or disjunctively as necessary to make the




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document request inclusive; the word “all” means “any and all” and the word “any” means “any

and all”.

               7.      In producing responsive documents, You should furnish all documents in

Your possession, custody, or control, regardless of whether such documents are possessed

directly by You or by Your agents, employees, or representatives, including Your attorneys or

their agents, employees, or representatives.

               8.      You are to produce any and all drafts and copies of each document that is

responsive to any specification of these document requests and all copies of each such document

that are not identical in any respect, including but not limited to handwritten notes, markings,

stamps, interlineations, and electronic information.

               9.      With respect to Electronically Stored Information (“ESI”):

                       a. All Microsoft Excel files, PowerPoint files, and/or audio and video

                           files responsive to these document requests that are maintained in the

                           usual course of business in electronic format are to be produced in

                           their native format, along with the software necessary to interpret such

                           files if such software is not readily available. Any native files that are

                           produced shall also be produced with a one-page Bates-numbered

                           TIFF image slip-sheet stating “Document has been produced in native

                           format.”

                       b. All other documents responsive to these document requests that are

                           maintained in the usual course of business in electronic format are to

                           be produced in properly unitized, single-page TIFF Group IV format

                           complete with full text extracts and all associated metadata.




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                 Documents produced in TIFF format shall be produced with Bates

                 numbers stamped on each page. Bates numbers shall be of constant

                 length, be sequential across a document and its attachments, be unique

                 across the entire production, and contain no special characters except

                 dashes. Documents produced in the Group IV TIFF format shall be

                 produced such that comments, notes, speaker notes, track changes,

                 hidden rows, hidden columns, and any other hidden or invisible text

                 are displayed. For good cause, the requesting party may request that

                 documents originally produced in TIFF format be re-produced in

                 native format, which request shall not unreasonably be denied. The

                 requesting party shall identify documents for re-production by Bates

                 number and provide an explanation of the need for native files.

              c. All documents responsive to these document requests are to be

                 produced with the metadata contained in Appendix A, and the

                 necessary Concordance-compatible load files. If such metadata is not

                 available, each document is to be accompanied by a listing of all file

                 properties relating to such document, including, but not limited to, all

                 information relating to the date(s) the document was last accessed,

                 created, modified, or distributed, and the author(s) and recipient(s) of

                 the document.

              d. Under no circumstances should ESI be converted from the form in

                 which it is ordinarily maintained to a different form that makes it more

                 difficult or burdensome to use. ESI should not be produced in a form




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                            that removes or significantly degrades the ability to search the ESI by

                            electronic means where the ESI is ordinarily maintained in a way that

                            makes it searchable by electronic means. Databases or underlying data

                            should not be produced without first discussing production format

                            issues with Vale’s counsel. If You decline to search or produce ESI on

                            the ground that such ESI is not reasonably accessible because of undue

                            burden or cost, identify such information by category or source and

                            provide detailed information regarding the burden of cost You claim is

                            associated with the search or production of such ESI.

               10.     All documents that are physically attached to each other when located for

production are to be left so attached when produced. Documents that are segregated or separated

from other documents, whether by inclusion in binders, files, subfiles, or by use of dividers, tabs,

or any other method, are to be left so segregated or separated when produced. Documents are to

be produced in the order in which they were maintained and in the files in which they were

found.

               11.     Where a claim of privilege is asserted in objecting to any document

request, identify the nature of the privilege (including work product) that is being claimed and

the privilege rule being invoked, and for each document withheld provide the following

information:

                       a.   the type of document;

                       b. the date of the document;




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                       c. the author(s), addressee(s), and recipient(s) of the document, and,

                            where not apparent, the relationship of the author(s), addressee(s), and

                            recipient(s) to one another;

                       d. the number of pages;

                       e.   the identity of any enclosure(s) or attachment(s);

                       f. the subject matter of the document;

                       g. the basis of the privilege claim; and

                       h. the type of privilege(s) asserted.

               12.     The documents responsive to these requests are to be produced as they

were kept in the ordinary course of business and are to be labeled in such a way as to show

which files they came from.

               13.     If any document, or any part of a document, called for by these document

requests has been destroyed, discarded, lost, or otherwise disposed of or placed beyond Your

custody or control, You are to furnish a list identifying each such document by: (i) date, (ii)

author; (iii) recipient(s); (iv) type of document (e.g., letter, memorandum, chart, e-mail, etc.); (v)

general subject matter; (vi) the document’s present or last-known location or custodian; (vii) the

date of the document’s destruction or other disposition; (viii) the reason for such destruction or

other disposition; and (ix) the person authorizing such destruction or other disposition.

               14.      Each specification of these document requests requires production in full,

without abbreviation, redaction, or expurgation of any responsive documents. If any responsive

document is not or cannot be produced in full, produce it to the extent possible, indicating which

document, or portion of that document is being withheld, and the reason(s) it is being withheld.




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Any redactions applied to documents shall contain text indicating the basis for redaction (e.g.,

“Privileged”).

                 15.   Documents not otherwise responsive to specifications of these document

requests are to be produced if such documents mention, discuss, refer to, or explain the

documents which are responsive to these document requests, or if such documents are attached

to documents responsive to these document requests and constitute routing slips, transmittal

memoranda, or letters, comments, evaluations, or similar materials.

                 16.   If, in responding to these document requests, You encounter any

ambiguity in construing them or any definitions and instructions relevant to them, set forth the

matter or term deemed “ambiguous” and the construction used in responding to the document

requests.



                             DOCUMENTS TO BE PRODUCED

                 1.    Any and all documents concerning agreements between You and BSG

Entities between January 1, 2010 and today.

                 2.    Any and all documents concerning any joint venture between You and

BSG RE between January 1, 2010 and today.

                 3.    Any and all communications and any documents concerning any

communications between You and BSG Entities.

                 4.    Any and all documents concerning direct or indirect payments and

transfers of assets and/or funds between You and BSG Entities between January 1, 2010 and

today.




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               5.      Any and all documents concerning any interests currently or formerly held

by BSG Entities in You or in any asset or property in which You currently hold or formerly held

an interest, including but not limited to the Subject Properties, between January 1, 2010 and

today.

               6.      Any and all board meeting minutes concerning any BSG Entities dated

between January 1, 2010 and today.

               7.      Any and all financial statements that reference any BSG Entities or

reference or reflect any equity or debt interest of any BSG Entities dated between January 1,

2010 and today.

               8.      Any and all corporate organizational charts dated between January 1, 2010

and today.

               9.      Any and all documents concerning BSG Entities as direct and indirect

investors, shareholders, and lenders in each of the Subject Properties between January 1, 2010

and today.

               10.     Any and all documents describing the present beneficial ownership,

including all direct and indirect investors, shareholders, and lenders, in each of the Subject

Properties.

               11.     Any and all documents concerning any of the BSG Entities’ direct or

indirect, prospective, actual or beneficial interests in and/or affiliations with the Subject

Properties between January 1, 2010 and today.

               12.     With respect to any Subject Properties in which any BSG Entities have

any debt or equity interest, any and all documents submitted to any government agency or entity,




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including but not limited to any tax documents, property filings, and any EB-5 documents and

communications with CMB regional centers.

               13.     Any and all documents concerning any of Steinmetz, Steinmetz’s

Associates, or Steinmetz’s Relatives, including but not limited to Luv Shah and Chris

Papachristophorou, visiting or working from HFZ’s offices at 600 Madison Avenue, New York,

NY, or visiting any property in which HFZ currently holds or formerly held an interest, including

but not limited to the Subject Properties.

               14.     Any and all documents concerning the acknowledgment or denial of any

relationship between any BSG Entities and HFZ, including but not limited to any and all

documents concerning the web articles “Beny Steinmetz, reported backer of Chrysler Building

owner and HFZ, to be tried in Guinean bribery scandal” published by The Real Deal on August

13, 2019 and “Rough Cut: How the Global Diamond Trade Shaped New York’s Skyline”

authored by Konrad Putzier and published by The Real Deal on April 2, 2018 or their subject

matter.

               15.     Any and all documents concerning any due diligence, KYC, identity

verification, and/or compliance documentation of BSG Entities provided with respect to any

investment, interest, financing, or shareholding of the Subject Properties.




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                            APPENDIX A
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Metadata Field          Description                                         Examples
Production Metadata Fields for All Documents
BegBates                Bates number for the first page of the              [Bates Prefix]-00000001
                        document
EndBates                Bates number for the last page of the               [Bates Prefix]-00000010
                        document
BegBatesAtt             Bates number for the first page of the parent       [Bates Prefix]-00000001
                        document (i.e., an email or other document
                        containing attachments)
EndBatesAtt             Bates number of the last page of the last           [Bates Prefix]-00000015
                        attachment to the parent document
Custodians_All          Name of the custodian or custodians who             Jones, Barbara
                        possessed this item or exact duplicates thereof.
RecordType              Type of item being produced                         Email, Email Attachment,
                                                                            Electronic Document,
                                                                            Hardcopy Document
FilePath                Original location of the file when collected        C:\My Documents\Deal
                        from the source custodian or system                 Documents
FileSize                Size of the native file document/email in KB        3,547
Prod_Native             File path to the native file on the production      Prefix001\NATIVES\000\
                        media if applicable (a.k.a. production file path)   Prefix00000001.msg
Prod_Text               File path to the extracted text file on the         Prefix001\TEXT\000\
                        production media                                    Prefix00000001.msg
MD5Hash                 The MD5 hash value for the item
SHA1Hash                The SHA-1 hash value for the item
Designation             The confidentiality designation of the              Confidential, Highly
                        document, if any                                    Confidential
Redaction               For documents containing redactions, the basis      Privileged, Personal,
                        for such redactions                                 Proprietary
Additional Document Metadata Fields for Electronic Documents and Attachments
FileName                Original name of the file when collected from       exampledoc.doc, file.xls
                        the source custodian or system
FileExt                 File type extension of native file                  xls, doc, ppt, mp3
FileType                File type or application used to create the         Excel, Word, PowerPoint,
                        underlying native file                              MP3
Title                   Title of the document                               Purchase Agreement
Author                  Author of the document                              Barbara Jones
TimeZone                The time zone in which electronic documents         GMT
                        were standardized during conversion.
MasterDate              For emails and their attachments, the sent date     MM/DD/YYYY
                        of the parent email



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Metadata Field       Description                                       Examples
MasterTime           For emails and their attachments, the sent time   HH:MM:SS
                     of the parent email, using a 24-hour clock
DateCreated          Date the item was created                         MM/DD/YYYY
TimeCreated          Time the item was created, using a 24-hour        HH:MM:SS
                     clock
DateLastModified     Date the item was last modified                   MM/DD/YYYY
TimeLastModified     Time the item was last modified, using a 24-      HH:MM:SS
                     hour clock
Additional Document Metadata Fields for Email and Other Electronic Communications
DateSent             Date the email message was sent, using a 24- MM/DD/YYYY
                     hour clock
TimeSent             Time the email message was sent, using a 24-      HH:MM:SS
                     hour clock
Date Received        Date the email message was received, using a      MM/DD/YYYY
                     24-hour clock, in Greenwich Mean Time
                     (GMT)
TimeReceived         Time the email message was received, using a      HH:MM:SS
                     24-hour clock
To                   Addressee(s) of the email message                 Barbara Jones
                                                                       barbarajones@co.com
From                 Name and email address of the person who          Barbara Jones
                     sent the email message                            barbarajones@co.com
CC                   Recipient(s) included in the “cc” line of the     Barbara Jones
                     email message                                     barbarajones@co.com
BCC                  Recipient(s) included in the “bcc” line of the    Barbara Jones
                     email message                                     barbarajones@co.com
Subject              Subject line of the email message                 FW: your message
EmailPath            The original location of email                    Personal Folders\Sent
                                                                       Items\
Conversation Index   A field indicating whether an email message is
                     part of a conversation thread with other email
                     messages.




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                            APPENDIX B
                                                              19-11845-shl Doc 5-2 Filed 06/03/19
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                                                                                                                   MANAGEMENT CORP
                                                                                                                        [BVI]




                                                                                               BSG RESOURCES LTD
                                                                                                     [GSY]




                                                                        West African     BSG Resources                                            BSGR Holdings    Kensdale Global
                   Octea Ltd                                                                                                                                                         BSG Energy Ltd
                                                                       Power Limited    (Guinea) Limited                                          Cooperatief UA     Assets Ltd
                     [GSY]                                                                                                                                                               [GSY]
                                                                          [GSY]              [GSY]                                                    [NL]              [BVI]
                                                                                                                                                                                D                D
                                                                               [38%]
                                                                      Amperion Power
                                                      BSG Power
Octea Mining     Octea Diamonds    Octea Services                       Distribution                       BSG Resources         BSGR Logistics
                                                        Nigeria                         BSGR Liberia Ltd
     Ltd               Ltd              Ltd                              Company                            (Guinea) Sarl            Corp
                                                    Coöperatief U.A                          [BVI]
    [GSY]             [GSY]            [BVI]                              Limited                             [Guinea]             [Liberia]
                                              L          [NL] D                                      D                  D                    D
                                                                         [Nigeria]

                                                                              [51%]

  Koidu Ltd       Tonguma Ltd       Boroma Ltd                         Geregu Power
                                                                                        BSGR Liberia Ltd
    [BVI]             [BVI]            [BVI]                            Plc (Nigeria)
                                                                                           [Liberia]
Trading in SL.    Trading in SL.   Trading in SL.
                                                                                                     D




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                                                                                                                                                                                            L = Liquidated
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